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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

  UNITED STATES OF AMERICA,                               )
                                                          )
  v.                                                      )
                                                          )
  THOMAS L. SHAFER,                                       ) Docket No. 03-cr-90-GZS
  VICKI RANNI                                             )
                                                          )
                                                          )
                               Defendants.                )


             ORDER ON DEFENDANTS’ MOTIONS FOR MODIFICATION OF
              SUPERVISED RELEASE PURSUANT TO 18 U.S.C. § 3583(E)(2)


             Before the Court are Defendant Shafer’s pro se Motion for Modification of

  Supervised Release (Docket # 68) and Defendant Ranni’s pro se Motion for Leave to

  Join Defendant Thomas Lyle Shafer’s Motion for Modification of Supervised Release

  (Docket # 69). As explained herein, the Court DENIES these motions WITHOUT

  PREJUDICE.

             In October 2003, Shafer and Ranni pleaded guilty to various counts of an

  Information (Docket # 31) charging them for their involvement in three bank robberies.1

  This Court proceeded to impose judgment and sentence, which included a three-year term

  of supervised release for each Defendant. (See Judgments (Docket #s 46 & 47) at 3.) In

  addition to the standard conditions of supervised release, the Court imposed an additional

  term preventing Defendants from having “communication or contact” with each other.

  (See id. at 4.)

             Shafer and Ranni now ask the Court to modify this term so that they may “marry

  . . . upon their release from prison.” (See Def.’s Mot. for Modification (Docket # 68) at
  1
      Shafer and Ranni completed only the first robbery; the others were merely attempted.
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  2.) They contend that the additional term “impermissibly infringes rights guaranteed []

  by the United States Constitution and is both unnecessary and unreasonable.” (See id.)

  Specifically, Defendants insist that the additional term constitutes an “[i]nterference with

  their intimate personal relationship” that fails to serve sufficient “rehabilitative or

  protective interests.” (See id. at 4.)

          Of course, courts may impose additional conditions that are “reasonably related

  to” the purposes of supervised release, and which entail “no greater deprivation of liberty

  than is reasonably necessary” to achieve those purposes. See 18 U.S.C. § 3583(d)(1)-(2);

  USSG § 5D1.3(b). Furthermore, conditions that “intrude[] on a constitutionally protected

  right” are not invalid per se. United States v. Roy, 438 F.3d 140, 144 (1st Cir. 2006)

  (citation and internal punctuation omitted). Numerous federal courts have affirmed the

  imposition of special conditions limiting a defendant’s constitutional right to associate

  with family relations or intimates. See, e.g., Roy, 438 F.3d at 144-45; United States v.

  Smith, 436 F.3d 307, 312 (1st Cir. 2006); United States v. Bortels, 962 F.2d 558, 560

  (6th Cir. 1992).

          Shafer and Ranni’s association resulted in uncharacteristic, mutually destructive

  behavior that repeatedly endangered the public. The additional term serves the twin

  purposes of protecting the public from future crime and encouraging Defendants’

  rehabilitation, and is therefore “reasonably related to” permissible purposes of supervised

  release. See Roy, 438 F.3d at 144; Bortels, 962 F.2d at 559-60; see also 18 U.S.C. §

  3583(d)(1); USSG § 5D1.3(b). Moreover, the additional term is “a considered response

  to a specific problem”: namely, Defendants’ uniquely deleterious influence on each other.

  Roy, 438 F.3d at 145. Indeed, Shafer participated in the robberies solely to serve Ranni’s




                                               2
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  immediate needs.2 See Bortels, 962 F.2d at 559 (observing that the defendant “would not

  be in jail but for her association with [her fiancé]”).

          Accordingly, the Court DENIES WITHOUT PREJUDICE Defendant Shafer’s

  pro se Motion for Modification of Supervised Release (Docket # 68) and Defendant

  Ranni’s pro se Motion for Leave to Join Defendant Thomas Lyle Shafer’s Motion for

  Modification of Supervised Release (Docket # 69). Defendants may renew their motions

  at a later date. Once Defendants commence their terms of supervised release, the Court is

  certainly willing to consider modifying or removing the additional condition depending

  on the status of each Defendant’s rehabilitation.

  SO ORDERED.

                                                              /s/ George Z. Singal
                                                              Chief U.S. District Judge

  Dated this 29th day of September, 2008.




  2
   In conversations with the Government, “Ranni stated that the robberies were her idea because she needed
  money for a variety of reasons including being behind on her truck payments and child support
  obligations.” (Prosecution Version (Docket # 39) at 4; see also Tr. of Proceedings (Docket # 55) at 14.)


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